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                                                           UNITED STATES DISTRICT COURT
                                                           WESTERN DISTRICT OF MICHIGAN
                                                                NORTHERN DIVISION

                           RICHARD J. HILL,
                                                                                U.S. District Judge:
                                   Plaintiff,                                    Hon. Hala Y. Jarbou

                           v                                                    U.S. Magistrate Judge:
                           JUSTIN WONCH,                                         Maarten Vermaat

                                   Defendant.                                   Case No: 2:19-cv-159
                                                                            /
                           Phillip B. Toutant (P72992)                          M. Sean Fosmire (P31737)
                           Karl P. Numinen (P46074)                             Thomas R. Shimmel (P41280)
                           NUMINEN DEFORGE & TOUTANT, P.C.                      KITCH DRUTCHAS WAGNER
                           Attorneys for Plaintiff                               VALITUTTI & SHERBROOK
                           105 Meeske Avenue                                    Attorneys for Defendants
                           Marquette, MI 49855                                  1440 W. Ridge Street, Ste. C
                           (906) 226-2580                                       Marquette, MI 49855-3199
                                                                                (906) 228-0001
                                                                            /

                                                               DEFENDANT’S TRIAL BRIEF

                                   This is a Section 1983 claim in which Plaintiff Richard J. Hill alleges that Forsyth Township

                           Police Officer Justin Wonch used excessive force on March 22, 2019 when the officer sought to

                           arrest him for the crime of domestic violence and after he intervened to prevent plaintiff from

                           attacking the DV victim, Vickie Lara, an assault that took place in the presence of Officer Wonch.

                                   The Court has had a number of recitations of the facts that gave rise to the incident in

                           question and the claims that are being made. Defendants’ Motion for Summary Judgment (ECF

                           No. 33) and Brief in Support (ECF No. 34), introduced this court to the facts and the characters.

                                   Jack Hill at the time of these events was about 68 years old. He and Vickie Lara had been

                           in a domestic relationship for approximately 15 years. Hill and Lara were known to the officers of
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                           the Forsyth Township Police Department, having had encounters with the officers on previous
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                           occasions. Mr. Hill was an alcoholic, and at the time of the events in question has been "binge




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                           drinking" for about a week, based on testimony given by Ms. Lara. Officer Justin Wonch, who had

                           been a member of the Township police Department, off and on, for about 10 years, was

                           dispatched at 9:36 PM for a report of a domestic violence incident. He recognized the names of

                           the persons involved. He traveled to the apartment shared by Hill and Lara, and after being

                           invited into the home he encountered both of them there. Also present was Tim Normand, a

                           friend of Vickie Lara. Both Lara and Normand confirmed that Jack Hill had assaulted Vickie,

                           striking her in the face, apparently as a result of her refusal to go out and buy Jack more liquor.

                           There was information to the effect that Mr. Norman had intervened with one of the assaults,

                           leading to a fight between Hill and Normand before Officer Wonch arrived.

                                  When Officer Wonch entered the apartment, Hill was extremely drunk, belligerent, and

                           uncooperative.

                                  As was noted in the Defendant's Motion in Limine (ECF 84, PageID.696), the interaction

                           between Hill and Lara can fairly be described in four segments.

                                  Segment 1 – Wonch’s interview of both Lara and Hill, including inspection of Lara’s injuries

                           from about 12:00 to 12:451, leading up to the instruction to Hill to stand to be handcuffed in the

                           course of arrest (at 13:10). This segment includes at least 90 seconds of adamant bellicose refusal

                           by Hill to cooperate while still seated, from 13:10 to 14:40. He then stands and faces Wonch, but

                           refuses to turn around to be cuffed. This segment ends at about 14:55, with Hill still refusing to

                           comply.



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                                      All times recited here are min:sec, with the bodycam video starting at 00:00.




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                                    Segment 2 – Hill launches himself at Vickie Lara (at 14:56), an attempted assault on her in

                           Wonch’s presence. Wonch, making a split-second decision, jumps against Hill to deflect him away

                           from Lara, pinning Hill between his body and the couch before they fall to the floor, and they

                           then end up on the floor next to the far wall. This is a short segment, from about 14:56 to 15:10

                           or so.

                                    The bodycam is being worn by Wonch as the physical interaction begins, and thus the

                           video does not show much about what happened during this segment or the next.

                           Segment 3 (from 15:10 to 17:15) – Wonch and Hill are on the floor, with Wonch applying knee

                           strikes to gain compliance.

                                    Segment 3 (from 15:10 to 17:15) – Wonch and Hill are on the floor, with Wonch applying

                           knee strikes to gain compliance.

                                    Segment 4 (from 17:15) – Hill is dragged out of the apartment by Wonch and Normand,

                           taken out the door (about 17:35), and placed on the ground outside the apartment, where

                           Wonch stops to catch his breath.

                                    And as the court will recall, it has already ruled in favor of the defendant, granting him

                           summary judgment, as to any claims arising from segments 1, 2, and 4. It is only the events that

                           occurred in segment 3, while Hill and Wonch were on the floor, for a period of two minutes and

                           five seconds, that are at issue here.

                                    The evidentiary issues that we expect to arise during the course of the trial were

                           anticipated by the fourth and fifth motion in limine which we filed on behalf of the defendant.
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                           ECF 101 and 102. The court denied these motions solely for the reason that they were filed after
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 (906) 228-0001            the April 11 deadline, and the court has expressly noted that these evidentiary issues will be




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                           handled as they arise at the time of trial. The defendant will rely on the arguments and authorities

                           that were raised in those late motions, and will not try to repeat the points here.

                                  We expect that there will be extensive argument during the course of the testimony of

                           plaintiff's expert, Ken Katsaris, because he has a pronounced tendency to try to bring in negative

                           points about the defendant police officer that are based on claims of ordinary negligence rather

                           than constitutional violations. He asserted that Officer Wonch acted improperly in declining an

                           offer from Central Dispatch to send another officer to assist him with the response. As we have

                           argued and strongly supported by reference to the case law, however, an act of ordinary

                           negligence cannot form the basis of a claimed constitutional violation. While the courts have not

                           accepted the occasional argument by defendants that intentional misconduct is required, in truth

                           a constitutional violation can only be found when there is a strong showing of misconduct on the

                           part of the officer. The familiar §1983 jurisprudence that requires that the principles that the

                           officer violates have to be strongly established, well known, and well familiar to reasonably

                           trained officers in any law enforcement agency, underscores the necessity of that level of

                           showing. Because the court has denied our motion on this point, and has expressed its confidence

                           that the issue can be handled with a cautionary instruction, it may be necessary for us ask for

                           that cautionary instruction several times during the course of this case.


                           State law claim

                                  The plaintiff’s state law claims against the defendant are subject to the provisions of

                           Michigan's governmental immunity act, MCL 691.1407. The language of subsection (2) of 1407
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                           applies here.
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                                           (2) Except as otherwise provided in this section, and without regard
                                           to the discretionary or ministerial nature of the conduct in



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                                          question, each officer and employee of a governmental agency,
                                          each volunteer acting on behalf of a governmental agency, and
                                          each member of a board, council, commission, or statutorily
                                          created task force of a governmental agency is immune from tort
                                          liability for an injury to a person or damage to property caused by
                                          the officer, employee, or member while in the course of
                                          employment or service or caused by the volunteer while acting on
                                          behalf of a governmental agency if all of the following are met:

                                           (a) The officer, employee, member, or volunteer is acting or
                                          reasonably believes he or she is acting within the scope of his or
                                          her authority.

                                           (b) The governmental agency is engaged in the exercise or
                                          discharge of a governmental function.

                                           (c) The officer's, employee's, member's, or volunteer's conduct
                                          does not amount to gross negligence that is the proximate cause of
                                          the injury or damage

                                  As paraphrased, and as requested as an instruction to be given to the jury, that provision

                           is:

                                          An employee of a government agency is immune from tort liability
                                          for an injury caused by him while in the course of employment if
                                          all of the following are met:

                                          a - he was acting within the scope of his employment

                                          b - he was carrying out a government function

                                          c - his conduct does not amount to gross negligence that is the
                                          proximate cause of the injury

                                  This language is a significant departure from the common law in two very important

                           respects. One is that there is a requirement that the conduct of the defendant "amount to gross

                           negligence.” The second is that the gross negligence of the defendant must be "the proximate

                           cause" of the injury that is claimed.

                                  This provision is, to our knowledge, the only statutory language that requires that the
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                           plaintiff prove that the conduct of the governmental actor be "the proximate cause" of the injury.
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 (906) 228-0001            This requirement was examined carefully in Robinson v. City of Detroit, 462 Mich. 439, 613




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                           N.W.2d 307 (2000). In that case, the Michigan Supreme Court declared, speaking through Justice

                           Taylor:

                                            We conclude the individual police officers are immune from liability
                                            because their actions were not "the proximate cause" of the
                                            plaintiffs' injuries. Thus, we overrule Dedes v. Asch, 446 Mich. 99,
                                            521 N.W.2d 488 (1994), and hold that the phrase "the proximate
                                            cause" as used in the employee provision of the governmental
                                            immunity act, M.C.L. § 691.1407(2); MSA 3.996(107)(2), means the
                                            one most immediate, efficient, and direct cause preceding an
                                            injury, not "a proximate cause." Because the conduct of the
                                            individual police officers in these cases were not "the proximate
                                            cause," i.e., the one most immediate, efficient, and direct cause, of
                                            the passengers' injuries, the officers are entitled to governmental
                                            immunity…

                                            Further, recognizing that "the" is a definite article, and "cause" is a
                                            singular noun, it is clear that the phrase "the proximate cause"
                                            contemplates one cause. Yet, meaning must also be given to the
                                            adjective "proximate" when juxtaposed between "the" and "cause"
                                            as it is here. We are helped by the fact that this Court long ago
                                            defined "the proximate cause" as "the immediate efficient, direct
                                            cause preceding the injury." Stoll v. Laubengayer, 174 Mich. 701,
                                            706, 140 N.W. 532 (1913). The Legislature has nowhere abrogated
                                            this, and thus we conclude that in M.C.L. § 691.1407(2)(c); MSA
                                            3.996(107)(2)(c) the Legislature provided tort immunity for
                                            employees of governmental agencies unless the employee's
                                            conduct amounts to gross negligence that is the one most
                                            immediate, efficient, and direct cause of the injury or damage, i.e.,
                                            the proximate cause.

                                            Applying this construction to the present cases, we hold that the
                                            officers in question are immune from suit in tort because their
                                            pursuit of the fleeing vehicles was not, as a matter of law, "the
                                            proximate cause" of the injuries sustained by the plaintiffs. The one
                                            most immediate, efficient, and direct cause of the plaintiffs' injuries
                                            was the reckless conduct of the drivers of the fleeing vehicles.
                                            [emphasis added]

                                     Under common law, a plaintiff may recover if the negligent act of the defendant was a

                           proximate cause of the injury claimed. Even if other causes combined with it, the defendant’s act

                           can give rise to a recovery so long as the jury finds that it was a significant factor in bringing about

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                           act must be the most immediate, efficient, and direct cause of the injury that is claimed. The jury
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                           must be so instructed.



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                                  This is another reason that the acts of negligence claimed by Katsaris, plaintiff’s expert

                           witness, may not be used or argued as a basis for liability. The decision by Officer Wonch not to

                           accept the offer by Central Dispatch to send another officer as backup cannot in any way be

                           regarded as “the most immediate, efficient, and direct cause of the injury” that is claimed here.

                                                                               Respectfully submitted,

                                                                               KITCH DRUTCHAS WAGNER
                                                                               VALITUTTI & SHERBROOK


                           Dated: July 6, 2022                                 By:      /s/ M. Sean Fosmire
                                                                                     M. Sean Fosmire




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